                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                   Plaintiff,

             v.                                             Case No. 16-CR-87

EMERITO QUILES,

                   Defendant.


                      REPORT AND RECOMMENDATION
                     ON DEFENDANT’S CHANGE OF PLEA


      The United States of America and the defendant, Emerito Quiles, appeared

before me on June 2, 2017, for a change of plea colloquy pursuant to Rule 11 of the

Federal Rules of Criminal Procedure. See Court Minutes for Change of Plea Hearing,

ECF No. 326. Mr. Quiles, who was represented by counsel at the hearing, consented

to my conducting the change of plea colloquy. I explained that it would be for United

States District Judge J.P. Stadtmueller alone, not me, to enter the plea and that my

role was to conduct the plea colloquy and then to prepare a report and

recommendation for ultimate disposition by Judge Stadtmueller.

      After Mr. Quiles was placed under oath and advised as to the implications of

being untruthful, I questioned him about his competency to go forward with the

hearing. Through his responses, I found that Mr. Quiles was lucid, intelligent, and

not under the influence of any intoxicants or substances.




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      I then discussed in detail each of the subjects specified in Rule 11, including

the rights Mr. Quiles would surrender by entering a plea of guilty, the maximum

penalties associated with the charged offenses, and the authority of the sentencing

judge to disregard any recommendations in the Plea Agreement, ECF No. 292, and to

sentence Mr. Quiles at the statutory maximums. Mr. Quiles fully understood the

rights he was surrendering and the implications of pleading guilty. Mr. Quiles

waived his right to prosecution by indictment and consented to prosecution by

information. ECF No. 327. Mr. Quiles also was satisfied that he had received

effective assistance of counsel.

      At the conclusion of this colloquy, I determined that the guilty plea was

knowing and voluntary and was not induced by threats or by promises not contained

in the Plea Agreement. I found that there was an independent factual basis

containing each of the essential elements of Count One of the Information, ECF No.

289, to which Mr. Quiles was pleading guilty. Mr. Quiles advised that he was

pleading guilty to the charged offenses because he was, in fact, guilty and that the

United States could prove beyond a reasonable doubt that he was guilty of the

charged offenses. Finally, I found that, in responding to my questions, Mr. Quiles

was candid, respectful, and non-evasive, fully accepting responsibility for and

acknowledging the unlawfulness of his conduct.

      NOW, THEREFORE, IT IS HEREBY RECOMMENDED that defendant

Emerito Quiles’s plea of guilty be accepted; that a presentence investigation and

report be prepared according to the schedule set by the Court; and that Mr. Quiles be


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adjudicated guilty and have sentence imposed accordingly.

      Your attention is directed to 28 U.S.C. § 636(b)(1)(B) and (C), Fed. R. Crim. P.

59(b), and E.D. Wis. Gen. L. R. 72(c), whereby written objections to any

recommendation herein, or part thereof, may be filed within fourteen days of service

of this Recommendation. Objections are to be filed in accordance with the Eastern

District of Wisconsin’s electronic case filing procedures. Failure to file a timely

objection with the District Judge shall result in a waiver of your right to appeal. If no

response or reply will be filed, please notify the Court in writing.

      Dated at Milwaukee, Wisconsin, this 6th day of June, 2017.

                                                BY THE COURT:


                                                s/ David E. Jones
                                                DAVID E. JONES
                                                United States Magistrate Judge




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